Case: 3:18-cr-00172-TMR-MRM Doc #: 170 Filed: 09/25/20 Page: 1 of 3 PAGEID #: 918




                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                          :
                                                    :
               Plaintiff,                           :   Case No. 3:18-cr-172
                                                    :
        v.                                          :   Judge Thomas M. Rose
                                                    :
 CARLOS RAYMOND ALVAREZ,                            :
                                                    :
               Defendant.                           :
______________________________________________________________________________

    ENTRY AND ORDER DENYING DEFENDANT’S MOTION FOR
    COMPASSIONATE RELEASE (ECF 164) WITHOUT PREJUDICE TO
    REFILING.
______________________________________________________________________________

       This case is before the Court on the Motion for Compassionate Release (ECF 164) filed by

Defendant Carlos Raymond Alvarez. Defendant is currently incarcerated and asks this Court for

compassionate release from his term of imprisonment. The United States filed a Response to the

Motion (ECF 166), in which the Government opposes the motion and asks the Court to deny it.

Defendant’s attorney filed a notice that no supplemental motion would be filed in support of

Defendant’s pro se motion. (ECF 168). The matter is ripe for review. Because Defendant did not

first request relief from the warden, the Court will deny Defendant’s motion.

       A district court has limited authority to modify a sentence. “Generally speaking, once a

court has imposed a sentence, it does not have authority to change or modify that sentence unless

such authority is expressly granted by statute.” United States v. Hammond, 712 F.3d 333, 335 (6th

Cir. 2013). Section 3582(c)(1)(A) grants such authority in certain limited circumstances.

       Section 603(b) of the First Step Act, which was signed into law on December 21, 2018,

modified Section 18 U.S.C. § 3582 to allow a defendant to bring a motion for compassionate


                                                1
Case: 3:18-cr-00172-TMR-MRM Doc #: 170 Filed: 09/25/20 Page: 2 of 3 PAGEID #: 919




release on his or her own behalf either “[1] after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or [2] the lapse of 30 days from the receipt of such a request by the warden of

the facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A); Pub. L. No. 115-391, 132 Stat. 5194;

see also United States v. Alam, 960 F.3d 831, 833-34 (6th Cir. 2020) (“If the Director of the Bureau

of Prisons does not move for compassionate release, a prisoner may take his claim to court only

by moving for it on his own behalf. To do that, he must full exhaust all administrative rights to

appeal with the prison or wait 30 days after his first request to the prison”) (internal quotation

marks omitted) (alteration adopted); United States v. Hardin, No. 19-cr-240, 2020 U.S. Dist.

LEXIS 90855, at *2-4, 2020 WL 2610736 (N.D. Ohio May 22, 2020) (analyzing whether 30-day

lapse provision in 18 U.S.C. § 3582(c)(1)(A) only applies if the warden does not respond to the

defendant’s request for the BOP to bring such a motion on the defendant’s behalf, and finding that

the provision is not limited to only applying in such a situation).

       Defendant requests this consideration based upon concern about the COVID-19 pandemic

and his health and well-being during his incarceration. The Government argues that Defendant

has failed to fulfill the administrative exhaustion requirement in 18 U.S.C. § 3582(c)(1)(A). (See

ECF 166.) Defendant’s filing does not assert that he has exhausted his remedies with the Bureau

of Prisons.

       Section 3582(c)(1)(A) expressly provides that the Court “may not modify a term of
imprisonment” upon a motion brought by a defendant until “after the defendant has fully
exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
of the defendant’s facility, whichever is earlier…” 18 U.S.C. 3582(c)(1)(A). Given the lack of
any indication that the Defendant has fully exhausted his Bureau of Prisons remedies, and that he
has not otherwise shown that either condition of this statutory exhaustion requirement has been

                                                  2
Case: 3:18-cr-00172-TMR-MRM Doc #: 170 Filed: 09/25/20 Page: 3 of 3 PAGEID #: 920




fulfilled, the Court cannot grant this motion. Ross v. Blake, 136 S. Ct. 1850, 1856-57, 195 L. Ed.
2d 117 (2016) (a court may not excuse exhaustion requirements mandated by statute because
“mandatory exhaustion statutes … establish mandatory exhaustion regimes, foreclosing judicial
discretion”); see also United States v. Allen, Case No. 1:19-cr-98-10, 2020 U.S. Dist. LEXIS
66414 (N.D. Ohio Apr. 15, 2020) (denying defendant’s motion for compassionate release in
context of COVID-19 pandemic because he failed to comply with the exhaustion and 30-day
requirements of § 3582(c)(1)(A)); United States v. Alam, Case No. 15-20351, 2020 U.S. Dist.
LEXIS 61588, at *6-7 (E.D. Mich. Apr. 8, 2020) (denying emergency motion for compassionate
release, collecting cases, and concluding that “neither condition described in 18 U.S.C. §
3582(c)(1)(A) is met, and that this failure to exhaust cannot be excused, even in light of the
COVID-19 pandemic”). Therefore, the Court DENIES Defendant’s Motion for Compassionate
Release (ECF 164) without prejudice. Defendant must first request relief from the Bureau of
Prisons.

       DONE and ORDERED in Dayton, Ohio, this Friday, September 25, 2020.

                                                                   s/Thomas M. Rose
                                                           ________________________________
                                                                   THOMAS M. ROSE
                                                           UNITED STATES DISTRICT JUDGE




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